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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-11-165
                                                      §
SHAWN WASHINGTON                                      §


                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence and
require the detention of the above-named defendant pending trial in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
[]         B.      Findings of Fact [18 U.S.C. § 3142(e)]
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        [ ] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                condition or combination of conditions will reasonably assure the appearance of the
                defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is accused of mortgage fraud in violation of 18 U.S.C. § 1349.

        [X] (2) There is a serious risk that the defendant will flee.

        [ ] (3) Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                      § 3142(c) which will reasonably assure the appearance of the defendant as
                      required.

        [ ] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.

                              Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information provided in the pretrial services
report and at the detention hearing establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required.

        I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to

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be taken into account:

        1.      Defendant is a U.S. citizen born in Maryland. He has a sister living in Shreveport,
                Louisiana and a brother living in Maryland. He lived in Houston from 2004 until 2009
                when he moved to Florida to be near his mother. He moved to Shreveport one week
                before his arrest. He was briefly married from May 2010 until he divorced in 2011.
                He has one child from previous relationship who lives in Houston. He has a passport
                and traveled Honduras for vacation in 2010. He has been unemployed since 2008
                although he reports starting a new business six months ago that is incorporated in
                Nevada.

        2.      Defendant's family and economic ties to the Houston community are minimal.
                Although he has a son in Houston, that did not prevent him from voluntarily moving
                away from the area in 2009.

        3.      Defendant's only criminal history consists of a 2009 arrest for possession of marijuana.
                Information at the detention hearing indicates he failed to appear for a court date in
                state court on at least one occasion after having been released on bond. He admits
                regular marijuana use.

        4.      Defendant has been charged with mortgage fraud in violation of 18 U.S.C. § 1349.
                Defendant faces a potential penalty of up to 30 years in prison.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on November 28, 2012.




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